        Case:4:19-cv-05206-JST
        Case  22-70194, 09/21/2022, ID: 12545375,
                                Document          DktEntry:
                                           191 Filed        15, Page
                                                     09/21/22   Page11of
                                                                       of33




                    UNITED STATES COURT OF APPEALS                        FILED
                            FOR THE NINTH CIRCUIT                          SEP 21 2022
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
In re: WASHINGTON CATTLEMEN'S                    No.    22-70194
ASSOCIATION; et al.,
______________________________                   D.C. Nos.   4:19-cv-05206-JST
                                                             4:19-cv-06013-JST
WASHINGTON CATTLEMEN'S                                       4:19-cv-06812-JST
ASSOCIATION; et al.,                             Northern District of California,
                                                 Oakland
                Petitioners,
                                                 ORDER
 v.

UNITED STATES DISTRICT COURT FOR
THE NORTHERN DISTRICT OF
CALIFORNIA, OAKLAND,

                Respondent,

CENTER FOR BIOLOGICAL DIVERSITY;
et al.,

                Real Parties in Interest.

Before: M. SMITH, BRESS, and VANDYKE, Circuit Judges.

      The petition for mandamus is granted in part. See Bauman v. U.S. Dist. Ct.,

557 F.2d 650, 654–55 (9th Cir. 1977) (setting forth factors for mandamus relief). It

is apparent that the district court in its July 5, 2022 Order clearly erred in vacating

the 2019 Rules without ruling on their legal validity. See Louisiana v. American

Rivers, 142 S. Ct. 1347 (2022); United States’ Response in Opposition, Dkt. 10, at

11 (“[T]he parties appear to agree that the district court should not have vacated the
        Case:4:19-cv-05206-JST
        Case  22-70194, 09/21/2022, ID: 12545375,
                                Document          DktEntry:
                                           191 Filed        15, Page
                                                     09/21/22   Page22of
                                                                       of33




2019 Rules without considering the merits.”); id. at 1 (“[T]he United States agrees

that the district court’s judgment was erroneous, and is urging the district court to

revise it accordingly.”).

      The district court’s order of July 5, 2022 is hereby stayed pending the district

court’s consideration of pending Rule 59(e) motions. This order is without prejudice

to petitioners seeking further relief following the district court’s resolution of the

Rule 59(e) motions. To the extent petitioners seek broader mandamus relief than

that granted in this order, the request is denied without prejudice to petitioners

seeking necessary and appropriate relief following the disposition of the pending

Rule 59(e) motions.




                                          2
        Case:4:19-cv-05206-JST
        Case  22-70194, 09/21/2022, ID: 12545375,
                                Document          DktEntry:
                                           191 Filed        15, Page
                                                     09/21/22   Page33of
                                                                       of33




Wash. Cattlemen’s Ass’n v. USDC-CAOAK, No. 22-70194
VanDyke, J., concurring:

      I concur in the order as written. But I would prefer we order that this court’s

stay of the improper vacatur remain in place through the eventual appeal of the

district court’s July 5 order, or until some other action moots the improper vacatur

(such as the district court granting the pending Rule 59(e) motions and rescinding

its July 5 order). This would follow the Supreme Court’s example in Louisiana v.

American Rivers, 142 S. Ct. 1347, 1347 (2022) (ordering that the stay remain in

effect “pending disposition of the appeal [to] … the Ninth Circuit and disposition of

the petition for a writ of certiorari”). And it would ensure that the district court’s

improper vacatur of the 2019 Rules could not spring back into effect by “the district

court’s resolution of the Rule 59(e) motions” in some manner that does not correct

its improper vacatur.1

      In short, our order as written does not eliminate the possibility of, and

arguably invites, future gamesmanship. But I hope my concern is unwarranted.




1
  For example, under our order as written, the district court simply denying the Rule
59(e) motions will cause the improper vacatur to immediately spring back into life,
and the 2019 Rules could remain unlawfully vacated during the entire pendency of
the appeal to this court, which could take more than a year.
                                          1
